CaS€ 1-17-43007-688 DOC 12 Filed 07/06/17 Entered 07/06/17 14246:48

 

 

 

 

 

Dei)ior'\ Ange;a Cov@ Cnecl< il this is:

3 [:‘_§ An amended filing

j Deinzor 2 w ij A supplement showing postpetition chapter
{Spouse, ifiiling} ` l3 expenses as ot the following date:
Unlted Siates Banl<ruptcy Ccurl lor tne: EASTEFZN DiSTRlCT OF NEW YORK _ l\/SM f DD l YYYY

case number 1-17~43007

(Ei known)

 

Otiiclal Form ‘lO@J
Scl‘aedule J: Y'ct.ir Expenses wis

Be as complete and accurate as possible if two marriedz people are filing together, both are equally responsible for supplying correct
intormatlon. lt more space is needed, attach another sheet to this form On the top of any additional pages, write your name and case
number (if known}. Answer every question

 

Describe ¥our Household
i. ls this a joint case?

m |\io. Go to line 24
13 `fes. Does Debtor 2 live in a separate household’?

ij No
ij Yes. Det)ior 2 must file Ochia| Forrn 'iUE`>J-Zz Expenses for Separate Househo!d ot Debtor 2.

 

2. Do you have dependents? [J NQ

    
 

     

    

Do not list Debtor 1 and z Yes Fill outtnis information for Dependent’s relationship to Dependent’s Does dependent
merger 2_ ` each dependent .............. Debtor‘l or ebtor 2_ ' 'th '¢‘
Do not state the

dependents names Son

 

 

 

3. Do your expenses include l NO
expenses of people other than m
yourself and your dependents? Y@S

  

Estimate Your Ongoir:g lVlonthly Expenses

s ama e your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lt this is a supplemental Schedule J, check the box at the top of the form and fi!l in the
applicable date.

 

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule !.' Your income
(Official Form 106l.)

 

4. The rental or horne ownership expenses for your residence include first mortgage

 

 

 

 

 

payments and any rent for the ground or |ot. - $ 1#455~33

if not included in line 4:

fia. Real estate taxes 43. 3 O.E)G

4c. Property, homeowners or renter’s insurance 4b. $ [)_(}Q

4c. l-iome maintenance repalr, and upkeep expenses 4c. 3 0,(}0

4d_ Horneowner*s association or condominium dues 4d. $ 693,(}0
5. Additionai mortgage payments for your residence, such as horne equity loans 5. $ 441_{)0

 

Otlicla| Form 1063 Schedule J: ¥our Expenses page 1

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D€bl@r 1 Angela Cove

6.

.<>O.-I

11.
12.

13.
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15.

16.

17`

18.

19.

2f1

21
22.

23.

24

Utiiities:

6a Electricity, heat, natural gas

6c Water, sewer, garbage collection

6c 'l'eiephone, cell phone lnternet, satellite and cable services
Bd. Other. Speclty:

Case number (lf knoWn) _‘1_17,.43{}{}7

6a
Bb.

 

6c

 

Gd.

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundryJ and dry cleaning
F‘ersonal care products and services

_Nledical and dental expenses

Transportation. include gas, maintenanc<.=:l bus or train tare.
Do not include car payments
Entertalnment, clubs, recreation, newspapers magazines and books

Charitabie contributions and religious donations

insurance
Do not include insurance deducted from your pay or included in titles 4 or 20.
15a. Lite insurance

15b. iéea|th insurance
15c_ \/ehicie insurance
15d. Otner insurance Spec.ity:

7.
B.
9.
10.

 

11.

 

12.
13.
14

15a
15b.

f:Ht':F}W QQ€F!£B€H€BHBW€B%B
l .

 

 

 

15c.
'i§d.

EHEB'{N%")

 

”!`axes. Do not include taxes dedMed from your pay or included in lines 4 or 20.
Specity:

16.

69

 

 

installment or lease payments:
1?a. Car payments for Vehicle 1

17b. Car payments for \/ehicie 2
17c. Other_Specity:

17a

 

17b.
17c.

 

17d. Other. Speciiy:

17d.

 

Vour payments of ailn;ony, maintenance and support that you did not report as
deducted from your pay on line 5, Scheduie !, Yourlncome {Otticiai Form ‘iOBi).
Other payments you make to support others w_ho do not live with you.

Speciiy:

18.

 

6969 6969-99€9

 

19.

 

Other real property expenses not included in lines 4 or 5 of this form or on Scheduie i: Your incomel

20a Niortgages on other property

20a Reat estate taxes

2{}c. Property` homeovi.'nr~:r`sl or renter`s insurance
ZOd. iViaintenance, repair, and upkeep expenses
20a i-iomeowner’s association or condominium dues
Other: Specify:

20a
20b.

 

 

20d.

$
$
QOc. $
$
20a $

 

21. +$

 

 

Calculate your montth expenses
22a Add lines 4 through 21.
221‘). Copy line 22 {monthiy expenses ior Debtor 2), it any, from Ofiiciat Forrn 1GSJ-2

22c. Add line 22a and 22b, `l'he result is your monthly expenses
Calculate your monthly net income

23a. Copy line 12 (your combined monthly income) 4from Scneduie l.
2311 Copy your monthly expenses from line 22c above

23c. Subtract your monthly expenses from your monthly income
The result is your monith net income

 

 

23a $

23a ~$ j

 

[_M
23<;. 3 $

 

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Do you expect an increase or decrease in your expenses Witltin the year after you file this form'?
For example do you expect to finish paying for your car loan Wlthin the year or dc you expect your mortgage payment to increase or decrease because cl a

modification to the terms ot your mortgage?

§ !\lo.

 

E] Yes. iririxpiain here:

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